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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOISAUG { 8 292)

 

UNITED STATES OF AMERICA SOUTHS N DIS STRICT Cour
G 3 . ) ERN DISTRICT OF ILL URT
) ST ST. LOUIS Orrin LINOIS
Plaintiff, )
)
vs. ) CRIMINAL NO._2/-30/ 27-S#y)
)
HEATHER L. HARPER, ) Title 18
) United States Code,
Defendant. ) Sections 1349, 1344, 1028A
INDICTMENT
THE GRAND JURY CHARGES:
COUNT 1

Conspiracy to Commit Bank Fraud — 18 U.S.C. § 1349

1. From on or about December 9, 2020 to on or about December 16, 2020, in St. Clair

and Madison Counties, within the Southern District of Illinois and elsewhere, the defendant,
HEATHER L. HARPER,

knowingly conspired and agreed with others unnamed in this Indictment to commit an offense
against the United States in violation of Title 18, United States Code, Section 1344(2), to obtain
money and funds owned by, and in the custody and control of, First Bank and other financial
institutions, the deposits of which were insured by the Federal Deposit Insurance Corporation, by
means of materially false and fraudulent pretenses and representations.

Z. The object of the conspiracy and scheme to defraud was for the conspirators to cash
stolen checks and fraudulently obtain funds from banks that they were not entitled to.

a, As part of the conspiracy and scheme to defraud, the members of the conspiracy
broke into vehicles and stole checkbooks and IDs—including driver’s licenses—belonging to

various individuals.
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4. It was a further part of the conspiracy and scheme to defraud that the conspirators
wrote checks from the stolen checkbooks payable to other persons from whom the group had stolen
IDs.

5. It was a further part of the conspiracy and scheme to defraud that the conspirators
provided to HARPER the fraudulent checks and the stolen IDs of the persons to whom the checks
were made payable.

6. It was a further part of the conspiracy and scheme to defraud that the conspirators
instructed HARPER to go to the banks where the persons to whom the checks were made payable
maintained bank accounts.

7. It was a further part of the conspiracy and scheme to defraud that when HARPER
arrived at the banks, HARPER cashed and attempted to cash the fraudulent checks by presenting
the stolen IDs of the persons to whom the checks were made payable and by posing as those
individuals.

8. It was a further part of the conspiracy and scheme to defraud that in order to deceive
the banks into believing she was the individual shown on the stolen IDs, HARPER often wore
wigs and otherwise disguised herself to look like the individual.

9. It was a further part of the conspiracy and scheme to defraud that her conspirators
listened over the phone as HARPER attempted to cash the fraudulent checks, coaching her through
the transactions via text messages.

10. _—_ In furtherance of and as a foreseeable consequence of the conspiracy, Defendant
HARPER cashed and attempted to cash several stolen checks made payable to individuals whose
identification documents had been stolen.

All in violation of Title 18, United States Code, Section 1349.
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COUNT 2
Bank Fraud — 18 U.S.C. § 1344(2)

1. The allegations contained in paragraphs | through 9 of Count One above are re-
alleged and incorporated herein as if fully set forth again.

2. From on or about December 9, 2020 to on or about December 16, 2020, in St. Clair
County, within the Southern District of Illinois and elsewhere, the defendant,

HEATHER L. HARPER,

knowingly participated in a scheme to obtain money and funds owned by, and in the custody and
control of, banks, the deposits of which were insured by the Federal Deposit Insurance
Corporation, by means of materially false and fraudulent pretenses, representations, and promises.

3. On December 11, 2020, in St. Clair County, within the Southern District of
Illinois, defendant,

HEATHER L. HARPER,

for the purpose of executing the aforementioned scheme, and attempting to do so, did knowingly,
and with intent to defraud, present to First Bank, in O’Fallon, Illinois, the stolen driver’s license
of an individual with the initials of S.A. and the following stolen checks, and asked the bank to
cash those checks:

A check drawn on the account of S.R. and R.R. at US Bank, in the amount of $1,935.00,

made payable to S.A., bearing the forged endorsement of S.A. at the First Bank location in

O’Fallon, Illinois; and

A check drawn on the account of A.A. at Anheuser-Busch Employees’ Credit Union, in

the amount of $1,989.00, made payable to S.A., bearing the forged endorsement of S.A.,

at the First Bank location in O’Fallon, Illinois.

All in violation of Title 18, United States Code, Section 1344(2).
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COUNT 3
Aggravated Identity Theft — 18 U.S.C. § 1028A(a)(1)

On or about December 11, 2020, in St. Clair County, within the Southern District of
Illinois, the defendant,
HEATHER L. HARPER,
knowingly possessed and used, without lawful authority, a means of identification of another
person, specifically the driver’s license of S.A., during and in relation to a felony violation
enumerated in 18 U.S.C. § 1028A(c), namely the conspiracy to commit bank fraud and bank fraud
offenses charged in Counts One and Two, knowing that the means of identification belonged to

another actual person.

All in violation of Title 18, United States Code, Section 1028A(a)(1).

A TRUE BILL

 

FOREPERSON

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@E/J. GROSS
7G. United States Attorney

Digitally signed by STEVEN
WEINHOEFT

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STEVEN D. WEINHOEFT
United States Attorney

 

Recommended Bond: $10,000 Unsecured
